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                                United States District Court
                                   District of Columbia

David O’Connell, individually             §
and on behalf of all others               §
similarly situated,                       §
                                          §
      Plaintiff,                          §
                                          §
v.                                        §      Case no. 1:20-cv-01365-KBJ
                                          §
United States Conference of               §
Catholic Bishops,                         §      Class Action
                                          §
      Defendant.                          §


               Motion for admission of attorney pro hac vice

      Pursuant to LCvR 83.2(d), the undersigned moves the Court for an order

granting admission pro hac vice of Martin Woodward to appear and participate in

proceedings in this Court in the case referenced above. The grounds for this motion are

set forth in the Declaration of Martin Woodward, filed concurrently herewith.

      Mr. Woodward will be associated in this case with the undersigned, who is a

member of the District of Columbia Bar and the Bar of this Court.

      The undersigned respectfully requests the Court to grant this motion and enter

an order admitting Martin Woodward pro hac vice.
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June 15, 2020                                  Respectfully submitted,


                                               /s/ Marc R. Stanley
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                                               proposed Class




                                Certificate of service

       I hereby certify that on June 15, 2020, a copy of this document was filed
electronically on the CM/ECF system, which will automatically serve a Notice of
Electronic Filing on all counsel of record.


                                        /s/ Marc R. Stanley
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